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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                            Richmond Division


STEVES AND SONS, INC.,

      Plaintiff,

V.                                         Civil Action No. 3:16-cv-545


JELD-WEN, INC.,

      Defendant.




                            MEMORANDUM OPINION


      This matter is before the Court on JELD-WEN, INC.'S MOTION

FOR A NEW TRIAL (EOF No. 1823).       Having considered the motion, the

supporting, opposing, and reply memoranda, JELD-WEN, INC.'S MOTION

FOR A NEW TRIAL (EOF No. 1823) will be denied.

                                 BACKGROUND


      Under Fed. R. Civ. P. 59(a)(1)(A), a court can set aside the

verdict and ^^grant a party's motion for a new trial if the verdict

is contrary to the clear weight of the evidence, rests upon false

evidence, or will cause a miscarriage of justice."                 Huskey v.

Ethicon, Inc., 848 F.3d 151, 158 (4th Cir. 2017); see also Minter

V. Wells Farqo Bank, N.A., 762 F.3d 339, 346 (4th Cir. 2014).

I.    The Bifurcation of the Trial of Steves' Breach of Contract
      and  Antitrust   Claims  from  the   Trial  of  JELD-WEN's
      Misappropriation of Trade Secrets Claims

      The   reason   for   the   bifurcation   of   the   trial   of   Steves'

antitrust claims     and   breach   of contract claims from       JELD-WEN's

misappropriation of trade secrets claims was set forth fully in
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the MEMORANDUM OPINION entered on May 17, 2017 (EOF No. 239).

Those    reasons    will   not   be   repeated   here,    but    the    reasoning

underlying the bifurcation decision is incorporated here in full.

        As explained in that MEMORANDUM OPINION, the high risk of

jury confusion presented by having a jury sort through the very

different, but complex claims, was the driving factor in ordering

bifurcation.       Id. at 28.    Having presided over the trial of the

antitrust and breach of contract claims presented by Steves in the

first trial, and the misappropriation of trade secrets claims

presented by JELD-WEN in the second trial, the Court is confident

in   saying   that      bifurcation   was   clearly   the    right      decision.

Bifurcation allowed both parties to fully present the evidence

pertaining to their respective claims and foreclosed evidence that

was being offered by JELD-WEN, (the misappropriation of trade

secrets) in the antitrust/breach of contract trial for the purpose

of prejudicing the jury against Steves and attempting to win the

antitrust/breach of contract case by painting Steves as a thief.

Both parties received fair trials on their respective claims from

separate juries, each of which considered relevant evidence from

each side.


        Nor did the bifurcation decision prejudice JELD-WEN in the

presentation       of   its   "barriers-to-entry"        defense   to     Steves'

antitrust claims.       In fact, JELD-WEN introduced evidence to support

that defense, and JELD-WEN argued it to the jury.               As explained in
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the   MEMORANDUM        OPINION      (EOF    No.   239),    evidence      that   Steves

allegedly       misappropriated        JELD-WEN's        trade    secrets      was     not

relevant to the barriers-to-entry defense.                  Id. at 19-21.        Even if

the Court is considered to have erred on that point, the alleged

misappropriation would have marginal relevance to that defense,

and the risk of prejudice and confusion substantially outweighed

any conceivable relevance.             On that point, all of the papers filed

by JELD-WEN in opposition to bifurcation, including the papers in

support    of    this    motion,      show    that    JELD-WEN's    purpose      was    to

distract the jury's attention from the antitrust and breach of

contract    issues      by   trying     to    prove    Steves'    misconduct.          The

evidence    involved      in    Steves'      antitrust     and   breach   of   contract

claims was complicated, and it would have been fundamentally unfair

to have allowed JELD-WEN to pursue that strategy.

      Contrary to the assertion of JELD-WEN, the Court did not order

separate    trials      on     the   basis    that     unclean    hands    was    not    a

permissible defense under Fourth Circuit precedent.                       As explained

above, the decision to sever was based on concerns of prejudice in

the trial of the antitrust and breach of contract claims if the

confusing evidence about the misappropriation of trade secrets was

admitted in the same trial.                 However, it is appropriate to note

that the Fourth Circuit has established that ^^unclean hands is no

bar to antitrust recovery."             Burlington Indus, v. Milliken & Co.,

690 F.2d 380, 388 (4th Cir. 1982).                    The MEMORANDUM OPINION (EOF
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No. 239) fully discusses that issue.            And, it is incorporated by

reference here.


II.   Dismissal of JELD-WEN's Contract Counterclaims

      JELD-WEN argues in conclusory fashion, with no citation of

authority, that somehow the dismissal of JELD-WEN's breach of

contract counterclaims in the Court's MEMORANDUM OPINION (EOF No.

353) prejudiced its ability to defend against Steves' breach of

contract claims.       The argument made by JELD-WEN is unfathomable,

and, in any event, it is irrelevant.            Whether JELD-WEN had valid

contract claims under Delaware law was decided as a matter of law.

JELD-WEN has cited no authority that, under that circumstance, the

Court    should     have   allowed   evidence    in   about   those    legally

insufficient and dismissed claims.         Nor has JELD-WEN explained how

it was prejudiced in defending Steves' breach of contract claims

by the dismissal of JELD-WEN's contract claims.

III. The Evidentiary Rulings

      A.    Evidence Respecting Trade Secrets Misappropriation

        JELD-WEN erroneously argues that the Court excluded wholesale

evidence of Steves' theft of JELD-WEN's trade secrets.              That simply

is incorrect.       The argument appears to be a challenge to the ORDER

entered on January 9, 2018 (ECF No. 776).              JELD-WEN's argument

entirely mischaracterizes the ruling in that ORDER.                  The ORDER

reflected the decision on PLAINTIFF STEVES AND SONS, INC.'S MOTION

IN    LIMINE   TO     EXCLUDE   EVIDENCE   RELATING     TO    THE     PURPORTED
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MISAPPROPRIATION    OF    JELD-WEN'S    ALLEGED    TRADE     SECRETS   BY   STEVES

(EOF No. 513), wherein Steves asked the Court to exclude all

evidence or argument respecting Steves' alleged misappropriation

of JELD-WEN's alleged trade secrets.         The Court did not grant that

motion.    Instead, the Court simply held that JELD-WEN could not

^^introduce evidence respecting how the information used by the

plaintiff was obtained."       ORDER {EOF No. 776), at 1.          Contrary to

JELD-WEN's argument, the ORDER does not provide that JELD-WEN would

be precluded from proving what information Steves possessed about

the   manufacture    of    doorskins,     and,     at   the    Final    Pretrial

Conference, the Court made clear that JELD-WEN could introduce

evidence   about    the   information    available      to    Steves   regarding

doorskins plant.      And, in fact, JELD-WEN introduced evidence on

those points.^

      JELD-WEN now argues that 'Mi]f the jury had heard that Steves

had in fact stolen the trade secrets that it needed to build a new

doorskin plant, it would have had a               wholly different view of

whether Steves was likely to enter the market."                 However, JELD-

WEN expressly represented to the Court that it was ''not attempting

to prove that Steves misappropriated JELD-WEN's information" as

part of its barriers-to-entry defense.            DEFENDANT JELD-WEN, INC.'S




     ^ If, in this argument, JELD-WEN is attempting to revisit
whether it could present an affirmative defense of unclean hands
during the antitrust trial, that issue has been addressed
previously. See supra at 3.
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MEMORANDUM       IN   OPPOSITION   TO PLAINTIFF STEVES AND SON'S, INC.'S

MOTION     IN   LIMINE   TO   EXCLUDE   EVIDENCE   RELATING    TO   THE   PURPORTED


MISAPPROPRIATION         OF   JELD-WEN'S   ALLEGED   TRADE    SECRETS     BY   STEVES


(ECF No. 646) at 1-2.         That representation forecloses this argument

in support of a new trial.         Nor has JELD-WEN explained how evidence

that Steves misappropriated information would have bolstered the

evidence that JELD-WEN did present in support of its barriers-to-

entry into the doorskins market.             On the other hand, for reasons

outlined above, that evidence would have caused unfair prejudice

and confusion.


      B.        Evidence that CMI was in Severe Financial Distress


      The admissibility of evidence on the issue of CMI's financial

condition       was thoroughly     dealt   with in the       MEMORANDUM OPINION

entered on February 6, 2018 (EOF No. 955), and JELD-WEN makes no

argument here that would require the Court to reconsider that

opinion.        The reasoning in that MEMORANDUM OPINION is incorporated

here by reference.

      As explained in that MEMORANDUM OPINION, JELD-WEN did not

assert a ''failing firm" defense, see (EOF No. 955) at 9-11, and,

clearly, the record would not have supported one.                   Nor did JELD-

WEN   assert the "weakened competitor defense," sometimes called

"the Hail-Mary pass of presumptively doomed mergers."                     ProMedica

Health Sys., Inc. v. F.T.C., 749 F.3d 559, 572 (6th Cir. 2014).

As explained in the MEMORANDUM OPINION, JELD-WEN                    did not have
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evidence sufficient to allow that issue to go to the jury.                 And,

JELD-WEN has offered no suggestion that a weakened competitor

defense was presented at trial.          Indeed, it was not.

      Given that the evidence about CMI's financial condition would

not support a      weakened    competitor    defense    or    a   failing firm

defense, and that JELD-WEN stated that it was not asserting such

defenses, it would have been prejudicial to allow evidence of CMI's

financial    condition    because   it   would   have   been      impossible   to

instruct the jury on how it could consider such evidence.              In fact,

JELD-WEN offered no argument or instruction respecting how such

evidence could be considered absent the failing firm or weakened

competitor defenses.      Now, in this motion, JELD-WEN asserts that,

even wholly apart from those defenses (which it acknowledges that

it did not assert), it could have relied on evidence of CMI's

financial condition to attack Professor Shapiro's analysis.                This

is a new argument, and JELD-WEN does not explain why evidence about

CMI's financial condition would have impeached Professor Shapiro's

testimony.    JELD-WEN, INC.'S MEMORANDUM IN SUPPORT OF ITS MOTION

FOR A NEW TRIAL (EOF No. 1824) shows that JELD-WEN, in reality,

was attempting to demonstrate that, ^^even in the absence of the

merger, Steves may well have had only two choices" for doorskins.

That is the argument that JELD-WEN was foreclosed from making when

it expressly disavowed the failing firm and weakened competitor

defenses.      Given     its   pre-trial    disavowals       respecting   those
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defenses, JELD-WEN          cannot now        be    heard to say that it wanted

evidence      of     CMI's       financial         condition         to   support        those

specifically disavowed defenses.

       Finally, as previously held, given JELD-WEN's disavowal of a

failing firm or weakened competitor defense, evidence of CMI's

financial condition presented a high risk of jury confusion that

substantially outweighed whatever minimal probative value it might

have   had.        That    is    particularly       so     given     that    JELD-WEN      has

identified     no    element      of    any   claim      or    defense      to   which    such

evidence would have been pertinent.

       C.     Evidence About the Department of Justice Investigation

       This issue was previously fully aired, briefed, and argued,

and the Court decided in favor of Steves' in a previous ORDER (ECF

No. 775}.      JELD-WEN has cited no new authority that would support

allowing this evidence in.               JELD-WEN cites the same cases it did

previously—Int'1 Ass'n of Machinists & Aerospace Workers, AFL-CIO,

Local Lodge No. 1821 v. Verso Paper Corp., 80 F. Supp. 3d 247, 281

(D. Me. 2015); Antoine L. Garabet, M.D., Inc. v. Autonomous Techs.

Corp., 116 F. Supp. 2d 1159, 1173 n.l3 (C.D. Cal. 2000); and

Ginsburg v. InBev NV/AB, 623 F.3d 1229, 1234-35 (8th Cir. 2010)—

and they do not support admission of this evidence in a jury trial.

       This   is    an    instance      where,     under      Fed.   R.   Evid.    403,    the

limited       probative         value     was      substantially          outweighed        by

substantial prejudice.             That is especially true where, as here.
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the DOJ did not have the benefit of the extensive and persuasive

evidence presented to the jury: evidence that showed a substantial

lessening of competition and that proved that JELD-WEN had entered

long-term contracts with its doorskin customers to keep them from

opposing the merger so that JELD-WEN then could force customers to

renegotiate the terms of those pre-merger contracts or agree to

increased     prices after the merger.             JELD-WEN   began its price

increase/contract renegotiation strategy once it thought the DOJ

would not intervene.


      JELD-WEN asserts that any prejudice to Steves could have been

overcome      by   Professor   Shapiro's    testimony      about    the   Justice

Department's review process.          But that argument further explains

why   the    investigation     evidence    would    have   been    substantially

prejudicial because the proposed ^^curative" explanation compounded

the risk of confusion and prejudice.

      D.      Evidence About the Doors Market


      JELD-WEN makes several arguments about evidence relating to

the doors market that are quite difficult to understand.                   First,

JELD-WEN argues that it was not permitted to present evidence about

Steves' recent performance in the doors market to rebut the alleged

injury      suffered   by   Steves.    However,      evidence     about   Steves'

profitability and       market share in the doors             market after the

acquisition at issue is irrelevant to whether Steves proved injury

and damages caused by the merger.          See Hanover Shoe, Inc. v. United
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 Shoe Mach. Corp., 392 U.S. 481, 493-94 (1968); see also Shoppin'

 Bag of Pueblo, Inc. v. Dillon Companies, Inc., 783 F.2d 159, 165

 (10th Cir. 1986) (upholding a district court's exclusion of similar

 evidence about profitability and market share under Rule 403 as

 irrelevant because the presentation would have been time consuming

 and confused the issues); In re Cathode Ray Tube (CRT) Antitrust

 Litig., No. MDL 1917, 2016 WL 7800819, at *8 (N.D. Cal. Nov. 15,

 2016) (''If the evidence is irrelevant or prohibited by Hanover

 Shoe, it should be excluded."); Columbus Drywall & Insulation,

 Inc. V. Masco Corp., No. 1:04-cv-3066, 2012 WL 12540321, at *1

 (N.D.    Ga.    July    17,    2012)   (stating    that    using    an   antitrust

 plaintiff s financial information and other downstream data when

 a   defendant    is    not    asserting   a    pass-on   defense    would   be "an

 impermissible end-run around the rule announced in Hanover Shoe").

         In any event, JELD-WEN expressly abandoned this argument by

 saying it would not assert that Steves' increased profits and

 market share since the merger "support a conclusion that Steves

 has not suffered any harm from the acquisition and therefore that

 the acquisition        has not caused injury to its business."                 See

 DEFENDANT JELD-WEN'S MEMORANDUM REGARDING INTRODUCTION OF EVIDENCE


 RELATED TO STEVES' PERFORMANCE IN THE DOORS MARKET (EOF No. 872)

 at 9 n.2.      JELD-WEN cannot resurrect the motion now.

         JELD-WEN next argues that evidence about competition in the

 doors     market      was     necessary   to    rebut     Steves'   evidence    of



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 coordination    between   JELD-WEN   and   Masonite.     JELD-WEN   does     not


 explain how evidence about Steves' position in the doors market

 would rebut the evidence that JELD-WEN and Masonite coordinated in


 the doorskin market.      In any event, that theory was rejected at

 the Final Pretrial Conference.       See Final Pretrial Conference Tr.


 637:9-649:8 (ECF No. 936).        Moreover, although Steves presented

 evidence   of   coordination   between     JELD-WEN    and   Masonite   in   the


 doorskins market, Steves did not present evidence that JELD-WEN

 and Masonite coordinated in the doors market.            Thus, the proposed

 evidence—that JELD-WEN says it was foreclosed from offering—did

 not rebut any evidence presented by Steves.

      Lastly, JELD-WEN argues that it was not permitted to impeach

 Edward Steves after he answered a question asked by JELD-WEN's

 counsel regarding whether Steves prospered because of the merger.^

 However, the entire subject matter of that inquiry was irrelevant.

 And, JELD-WEN made no motion to strike Edward Steves' testimony or

 made a request for the jury to be instructed to disregard his

 answer (which consisted of one word).




      2 Edward Steves responded "[n]o" to a question about whether
 Steves became more profitable after the CMI merger.     Trial Tr.
 1844:23-1845:1 (ECF No. 1034).

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      E.     JELD-WEN's Evidence Regarding Entry into the Deerskins
             Market


             1.     The Statement from John Ambruz's Report

      The Court excluded a single opinion statement from a ninety-

 seven page document prepared by John Ambruz, a consultant to

 Steves, that dealt with the feasibility of constructing a doorskin

 plant.    See ORDER dated January 29, 2018 (EOF No, 927) {excluding

 a particular statement from DX-778).                The statement that was

 excluded was Ambruz's opinion that ^^it is highly feasible to build

 and operate" a new plant.            JELD-WEN was permitted to offer the

 entirety of that document other than that single statement.           JELD-

 WEN offered extensive evidence about Steves' perception of the

 cost and feasibility of building a doorskin plant.            In any event,

 JELD-WEN does not explain how it was prejudiced by the ruling,

 even if it was erroneous (which it was not).             Finally, the Court

 considered the issue at the Final Pretrial Conference and again in

 ruling on JELD-WEN's Motion for Reconsideration.             Final Pretrial

 Conference Tr. 175:18-23 (ECF No. 932); ORDER dated January 29,

 2018 (ECF No. 927).         That reasoning applies with the same force

 here.


             2.     Entry into the United States Door Market by Third-
                    Party Suppliers

         JELD-WEN   argues     that    the   Court     erroneously   excluded

 substantial evidence about possible entry into the doorskin market

 by third-party suppliers.        Here, too, JELD-WEN makes an expansive



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 argument that is not borne out by the record.                In fact, only

certain specific questions and answers were excluded.             And, JELD-

 WEN was permitted to offer considerable evidence that foreign

 suppliers had hopes of entering the domestic doorskin market.

      To begin, JELD-WEN argues that the Court excluded evidence of

 third-party suppliers—'''Teverpan," '"Kronospan," '"Kastamonu," and

''Yildiz"—that had entered, were interested in entering, or were

 hoping to enter the doorskin market.             The Court made no such

 ruling.     In   fact,   there   is   no   citation   in   JELD-WEN's   brief

 respecting exclusion of evidence of Kastamonu or Yildiz.                As to

 Teverpan, the citation shows that the Court excluded a single

 sentence from an email on the basis of hearsay and Rule 403.             And,

 as to Kronospan, the       Court determined that the           testimony of

 Kronospan   witnesses should be excluded          because the testimony

 established nothing with respect to entry.             Trial Tr. 1777:3-9

 (ECF No. 1034); Trial Tr. 2152:18-2155:03 (ECF No. 1035).

       JELD-WEN next complains that some third-party statements were

 admitted, albeit not for the truth of the matters asserted in the

 statements.         JURY INSTRUCTIONS 14-15 (ECF No. 1025).             Those

 were out-of-court statements from a broker regarding the purported

 capabilities of a foreign company where the declarant was not

 subject to cross examination.         The Court held that the statements

 could not be admitted for the truth of the matter under Rule 802

 or under Rule 803(3) for statements of existing intent.           At trial.



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 JELD-WEN offered the evidence of which it now complains to prove

the     effect   on   Steves   of    the   statements      made    in    the   documents.

 JELD-WEN did not object to the limiting instruction of which it

 now complains.

              3.      Expert Testimony About Market Entry

        JELD-WEN argues, quite briefly and in conclusory fashion,

that the Court '"erred in limiting JELD-WEN's presentation of expert

evidence" regarding entry, that the evidence was "highly relevant

 and critical," and that its exclusion "severely" prejudiced JELD-

 WEN.     It is difficult to understand the argument because of the

 lack of specificity and the conclusory nature of the arguments.

        It   appears    as   if     the    argument   is    made    with       respect   to

 Professor Snyder, one of JELD-WEN's expert, who confirmed in his

 deposition that he was not offering any opinions on the likelihood

 of entry.       And, JELD-WEN's counsel represented specifically that

 Professor Snyder would not be offering an opinion that foreign or

 other entry is likely to satisfy Steves needs.                    Trial Tr. 2058:15-

 25.    On the basis of that record, the Court held that Professor

 Snyder could         not offer     opinions      when   he   had       disavowed those

 opinions in his deposition and when JELD-WEN's counsel had said he

 would not offer such opinions.              It is settled that, under Fed. R.

 Civ. P. 26(a)(2) and          37(c)(1), an expert cannot testify about

 undisclosed opinions.




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      It may be that, in making this argument, JELD-WEN refers to

the testimony of Mr. Kaplan, who was a damage expert for JELD-WEN.

However, it is unclear what ruling JELD-WEN actually challenges.

The briefing cites only to an objection made by Steves that was

overruled in JELD-WEN's favor.


      F.    Evidence About Efficiencies Created by the Merger

      It   is   JELD-WEN's   contention   that   the   Court ''specifically

 prevented JELD-WEN from presenting the jury with evidence of the

total gross efficiencies that resulted in the 2012 acquisition."

 In support of that contention, JELD-WEN cites the trial transcript

at 1590:01-1591:05.      However, the cited text simply discloses that

the Court admonished counsel against asking theoretical and open-

 ended questions.

      More importantly, the record shows that JELD-WEN was asked to

 identify the efficiencies that it proposed to prove.         In response,

 JELD-WEN identified only two efficiencies, both of which were the

 subject of evidentiary presentations at trial by JELD-WEN.              The

 record discloses that the Court did not exclude the evidence about

 efficiencies that JELD-WEN represented it wanted to present.^




      3 JELD-WEN's memorandum makes the conclusory allegation that
 the  Court excluded other evidence       regarding efficiencies.
 However, JELD-WEN does not explain what evidence was excluded, why
 the Court erred in any rulings, or how the rulings prejudiced JELD-
 WEN. Thus, it is not possible to address these points.

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IV.     Jury Instructions in the Trade Secrets Trial

        A.   Jury Instruction No. 31

        JELD-WEN first complains of Jury Instruction No. 31.                          That

 instruction was that:


             A trade secret may be comprised of several
        elements. A trade secret may exist if some, or even all,
        of its individual elements are public, provided that the
        trade secret as a whole remains confidential.

             One of the alleged trade secrets. No. 23, includes
        individual components, some or all of which may be in
        the public domain. For that particular trade secret, the
        trade secret is alleged to consist of the information
        considered as a whole, not the individual components.
        You must determine that JELD-WEN proved trade secret
        misappropriation with regard to the trade secret as a
        whole, not as to its individual parts.

 See JURY INSTRUCTION 31 (EOF No. 1614).

        To begin, it is appropriate to                   note that the contention

 relates     to     so-called         combination       trade    secrets.         JELD-WEN


 identified only one alleged combination trade secret (No. 23).

 That   instruction           was    appropriate,     and    JELD-WEN's     counsel      so

 acknowledged.          In a discussion about that trade secret, JELD-WEN's

 counsel acknowledged that JELD-WEN had to prove the trade secret

 status of        its    alleged      non-combination       trade   secrets in      their

 entirety and failure to do so would be a failure of proof on that

 trade secret.           To support the argument it now makes, JELD-WEN

 relies on Servo Corp. of America v. General Electric Co., 393 F.2d

 551, 554-55 (4th Cir. 1968).               Servo Corp. does not stand for the

 proposition       that       a     non-combination      trade    secret    can     remain

 protected    if        its   portions     are    not    confidential       and    can   be

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 ascertained from innocent sources.                     See id. at 555 {'"The gravamen

in a trade secrets case is a breach of confidence, rather than an

infringement of a                 property right; hence, reliance on innocent

sources of information involving no breach of duty, is an essential

element        of     the     defense         that    the   secrets       were     previously

 disclosed.").              Additionally,       JELD-WEN     relies on      Microstrategy.

 Inc. V. Bus. Objects, S.A., 331 F. Supp. 2d 396 {E.D. Va. 2004).

 But JELD-WEN misapplies Microstrategy; indeed, it omits a critical

 portion       of    the     text,    which,     in     full,    says,    ^'Simply      because

 information is disclosed outside of a company does not result in

 the   loss     of        trade   secret      status.       ^The   secrecy       need   not   be

 absolute;          the    owner     of   a    trade    secret     may,    without      losing

 protection, disclose it to a licensee, an employee, or a stranger,

 if the disclosure is made in confidence, express or implied.'"

 Id. at 416 (quoting Tao of Sys. Integration, Inc. v. Analytical

 Servs.    &    Materials, Inc., 299 F. Supp. 2d 565, 574 (E.D. Va.

 2004)).       Thus, plainly, if the information is public outside of a

 confidential communication, then the information loses its trade

 secret status.


       Further, even if there were some merit to JELD-WEN's position,

 in the general sense, it waived any objection to Jury Instruction

 No. 31 by failing object to it either at the charge conference or

 after the jury was charged when the Court asked for any objections




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to the instructions as given.             The failure to timely object to an

instruction waives the objection.

       B.      The Definition of ^^Willful" and "Malicious" in the Trade
               Secret Trial


         This argument is exactly the same one that JELD-WEN previously

advanced in support of its definition of "willful" and "malicious,"

 which    was different than the one that was                 given.'®       The Court

considered that argument and rejected it as erroneous insofar as

the   current     version   of    the   Texas    Uniform    Trade    Secrets    Act   is

concerned.       The Court said that "malicious means done with intent

to cause injury."         TS Trial Tr. 2230:24 (ECF No. 1735).                There is

 no reason to revisit the reasoning given at this time.

V.       The   Verdicts   on   Steves'     Antitrust       Claims    and    Breach    of
         Contract Claims


         In this argument, JELD-WEN contends that the verdicts in favor

 of   Steves'    antitrust       and    breach   of   contract      claims     are    not

 supported by the evidence.               In making that argument, JELD-WEN

 relies on arguments made in JELD-WEN, INC.'S MEMORANDUM IN SUPPORT

 OF ITS RENEWED MOTION         FOR JUDGMENT AS A MATTER OF LAW                (ECF No.




      " See ORDER dated April 24, 2018 (ECF No. 1470) (directing
 parties to submit briefing regarding "meaning of the phrase
 'willful and malicious'"); DEFENDANT AND COUNTERCLAIMANT JELD-WEN,
 INC.'S     PRETRIAL   BRIEFING        REGARDING   THE     WILLFUL    AND    MALICIOUS
 STANDARD UNDER THE TUTSA (ECF No. 1491); COUNTERCLAIM DEFENDANT
 STEVES AND SONS INC., AND SAM STEVES AND EDWARD STEVES' RESPONSE
 TO THE COURT'S ORDER DATED APRIL 24, 2018 REGARDING THE MEANING OF
 THE PHRASE "WILLFUL AND MALICIOUS" UNDER APPLICABLE TRADE SECRET
 STATUTES (ECF No. 1500); TS Trial Tr. 2229:9-2238:10 (ECF No.
 1735).

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 1822) and does not develop the theory sufficiently to allow for

 meaningful understanding insofar as it may relate to its motion

for a new trial.       And, of course, the calculus used in deciding a

 motion for new trial is quite different than that used in deciding

 a   motion for judgment as       a matter     of law.    Thus,   JELD-WEN's

 agreement on this point is rejected as inadequate and improper.

        Moreover, a review of the record shows that the evidence amply

 supported both the antitrust verdict and the breach of contract

 verdict.      Every    element   of   those    claims   was   proved   by   a

 preponderance of the evidence, and the jury rightly returned a

 verdict in favor of Steves, except as the Court previously has

 held in setting aside the jury verdict with respect to certain

 quality related contract damages (Count Two, paragraphs 8 through

 11).   See JURY VERDICT (ECF No. 1022); MEMORANDUM OPINION (EOF No.

 1773).

        On that score, JELD-WEN argues that the decision to set aside

 the jury verdict on those claims also requires setting aside the

 verdict with respect to the quality related antitrust damages.

 But JELD-WEN fails to provide any authority for the assertion that

 a party's failure to prove a breach of contract claim necessarily

 means that a party fails to prove an antitrust claim where the

 same evidence is offered to prove antitrust injury and antitrust

 damages.    Even though JELD-WEN did not breach its contract with

 Steves by reducing the quality of its doors, it can be held



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 accountable under the Clayton Act for reducing the quality to hurt

 Steves as a competitor.        Thus, JELD-WEN's argument is without

 merit.


                                 CONCLUSION


      For the foregoing reasons, JELD-WEN, INC.'S MOTION FOR A NEW

 TRIAL (EOF No. 1823) will be denied.

      It is so ORDERED.


                                              /s/               f
                              Robert E. Payne
                              Senior United States District Judge

 Richmond, Virginia
 Date: March      , 2019




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